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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-13-515 (1,3)
                                                  §
                                                  §
JAMMIE T. MARTIN                                  §
MICHELLE H. DAVIS                                 §

                                                ORDER

       Defendant Jammie Martin filed a motion for continuance, (Docket Entry No. 65). The

government and the remaining codefendant are unopposed. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The docket

control order is amended as follows:

       Motions are to be filed by:                     August 11, 2014
       Responses are to be filed by:                   August 25, 2014
       Pretrial conference is reset to:                September 2, 2014 at 8:45 a.m.
       Jury trial and selection are reset to:          September 8, 2014 at 9:00 a.m.



               SIGNED on April 17, 2014, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
